        Case 20-21768        Doc 40  Filed 08/11/21 Entered 08/11/21 15:25:44                Desc Main
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                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION
Honorable      A. Benjamin Goldgar                               Hearing Date           August 11, 2021

Bankruptcy Case                No. 20 B 21768                  Adversary


Brief                                                  Borneo Estrada
Statement of
Motion
                                     Order striking ruling date and setting status hearing


Names and
Addresses of
moving
counsel


Representing


                                                     ORDER




                On the court’s own motion, the ruling date of September 17, 2021, on the U.S. Trustee’s

               motion to dismiss is stricken. This matter is set for a status hearing on August 27, 2021, at
               11:15 a.m. Counsel must appear.
